Case 8:22-cv-00099-DOC-DFM Document 350-4 Filed 05/26/22 Page 1 of 6 Page ID
                                 #:5366
Case 8:22-cv-00099-DOC-DFM Document 350-4 Filed 05/26/22 Page 2 of 6 Page ID
                                 #:5367
Case 8:22-cv-00099-DOC-DFM Document 350-4 Filed 05/26/22 Page 3 of 6 Page ID
                                 #:5368
Case 8:22-cv-00099-DOC-DFM Document 350-4 Filed 05/26/22 Page 4 of 6 Page ID
                                 #:5369
Case 8:22-cv-00099-DOC-DFM Document 350-4 Filed 05/26/22 Page 5 of 6 Page ID
                                 #:5370
Case 8:22-cv-00099-DOC-DFM Document 350-4 Filed 05/26/22 Page 6 of 6 Page ID
                                 #:5371
